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      BIRD, MARELLA, BOXER
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10
                              IN THE UNITED STATES DISTRICT COURT
11
                          FOR THE SOUTHERN DISTRICT OF CALIFORNIA
12
13
     UNITED STATES OF AMERICA,                            Case No. 18-CR-4683-GPC
14                                                        Honorable Gonzalo P. Curiel
15               Plaintiff,
                                                          DEFENDANT PACAS’S
16 v.                                                     UNOPPOSED MOTION TO
                                                          MODIFY THE TRIAL SCHEDULE;
17                                                        REQUEST FOR TELEPHONIC
     JACOB BYCHAK, et al.,                                STATUS CONFERENCE RE SAME
18
19        Defendants.
                                                          [Declaration of Gary S. Lincenberg
20                                                        submitted herewith under seal]
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     3771393.1                                                            Case No. 18-CR-4683-GPC
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 1               TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
 2               Defendant Petr Pacas, by and through counsel of record, moves this Court for
 3 an order modifying the trial schedule. If necessary to address any questions from
 4 the Court, Mr. Pacas requests a brief, telephonic status conference to discuss the
 5 same. Defendants Jacob Bychak, Mark Manoogian and Mohammed Abdul
 6 Qayyum, and the Government do not oppose this request.
 7               On October 4, 2021, the Court scheduled trial to begin on May 24, 2022. (See
 8 Oct. 4, 2021 Hr’g Tr. at 50:4-5.) With a four-day per week trial schedule, defense
 9 counsel estimated, and the Court took into account, that it would to continue for four
10 to five weeks. (Id. at 48:7-11; 49:10-16.) At the time, counsel for Mr. Pacas did not
11 object to this schedule, with the understanding that Mr. Pacas’s co-lead counsel,
12 Nicole Rodriguez Van Dyk, could cover the few days that Mr. Lincenberg would be
13 unavailable.
14               Within the past several weeks, however, Ms. Van Dyk learned that for
15 medical reasons, it is almost certain that she will be unavailable for trial. (See
16 Under Seal Declaration of Gary S. Lincenberg at ¶ 3.)
17               Mr. Lincenberg will now be sole lead counsel representing Mr. Pacas at trial.
18 Mr. Lincenberg has plans to attend a family graduation on May 26, 2022 in
19 Massachusetts. Now, with the need to be present during all days of trial, Mr.
20 Lincenberg has a conflict on May 26 and 27. (The previous plan was for Ms. Van
21 Dyk to cover court proceedings those days.) If acceptable to the Court, Mr.
22 Lincenberg proposes that trial begin on Monday, May 23, 2022, one day earlier than
23 currently scheduled. Thus, the first week would consist of trial on May 23-25 rather
24 than May 24-27. 1 All counsel have been consulted and have no objection to this
25
26   1
     Counsel also discussed beginning trial one week later, on May 31, 2022. But this
27 would only work with all counsels’ schedules if the Court were willing to take a one
28 week break during the week of June 21-24.
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 1 schedule, if acceptable to the Court. (See Under Seal Declaration of Gary S.
 2 Lincenberg ¶ 4.)
 3               Accordingly, Defendant Pacas respectfully requests that the Court order the
 4 modified schedule as set forth herein.
 5                                               Respectfully submitted,
 6    Dated: January 31, 2022                  BIRD, MARELLA, BOXER, WOLPERT,
                                               NESSIM, DROOKS, LINCENBERG &
 7                                             RHOW, P.C.
 8                                             By: s/ Gary S. Lincenberg
                                                   Gary S. Lincenberg
 9                                                 Nicole Rodriguez Van Dyk
                                                   Darren L. Patrick
10                                                 Alexis A. Wiseley
                                                   Attorneys for Petr Pacas
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 1                                  CERTIFICATE OF SERVICE
 2               Counsel for Defendants certify that the foregoing pleading has been
 3 electronically served on the following parties by virtue of their registration with the
 4 CM/ECF system:
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 4
        I certify under penalty of perjury under the laws of the United States of
 5 America that the foregoing is true and correct.
 6
                 Executed on January 31, 2022, at Los Angeles, California.
 7
                                                             s/Alexis A. Wiseley
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                                                             Alexis A. Wiseley
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                            UNOPPOSED MOTION TO MODIFY THE TRIAL SCHEDULE
